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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

SCANNING TECHNOLOGIES
INNOVATIONS, LLC,

Plaintiff

Vv.

BOOMSET, INC.,

Defendant

JURY TRIAL DEMANDED

Case No. 1:23-ev-88248-CM

STIPULATON OF DISMISSAL WITH PREJUDICE

Pursuant to Fed. R. Civ. P. 41(a)(1(A)(ii), Plaintiff Scanning Technologies Innovations,

LLC and Defendant Boomset, Inc. hereby stipulate to the dismissal of all claims asserted in this

action WITH PREJUDICE, with each party to bear its own attorneys’ fees, costs and expenses.

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Rene A. Vagguez—
Virginia Bar No. 41988
rvazquez@ghiplaw.com
Randall T. Garteiser
Texas Bar No. 24038912

GARTEISER HONEA PLLC
119 W. Ferguson Street

Tyler, Texas 75702

Tel/fax: (888) 908-4400

Atiorneys for Plaintiff

Respectfully Submitted,

Carrie A. Bader
Kansas Bar No. 24436
Carrie.bader@eriseip.com

Megan J. Redmond
Kansas Bar No. 21999

ERISE IP, P.A.

7015 College Boulevard, Ste. 706
Overland Park, KS 66211

Tel.: (913)777-5600

Fax: (913)777-5601

Attorneys for Defendant
